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May 26, 2021                                 Application Granted. All other conditions of bail shall
                                             remain in effect. The Clerk of the Court is directed to
Hon. Lorna G. Schofield                      terminate the letter motion at docket number 499.
United States District Judge
Southern District of New York                Dated: May 27, 2021
                                             New York, New York
Thurgood Marshall U.S. Courthouse
40 Foley Square, Courtroom 1106
New York, N.Y. 10007

Re: U.S. v. Sharma, et. al., 18-cr-340 (LGS)

Your Honor:

      I am writing to request the lifting of Mr. Sharma’s curfew for one evening,
Sunday June 6th, 2021 to Monday June 7th, 2021. Mr. Sharma’s current curfew is
from 12:00 a.m. to 6:00 a.m. every day. Mr. Sharma and his fiancé, Brielle Farkas,
wish to have an engagement party with both of their families in Miami-Dade
County, Florida on the evening of Sunday, June 6 th, 2021. All other bail conditions
would remain unaltered and in effect.

       Mr. Sharma’s bail conditions currently require, among other things, GPS
monitoring of Mr. Sharma and a curfew. Counsel has conferred with AUSA
Samson Enzer and USPO Lazaro Fumero. The government consents to this
motion and United States Probation has no objection.

      Therefore, Mr. Sharma respectfully requests this Count enter an order
granting this motion.
                                              Sincerely yours,

                                                       s/Gennaro Cariglio Jr.
                                                       Gennaro Cariglio Jr., Esq.
                                                       Atty. for Sohrab Sharma
